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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                           )
                                                          )
 9                           Plaintiff,                   )
                                                          )
10            v.                                          )          2:06-CR-085-JCM (GWF)
                                                          )
11    DUMITRU NICULESCU, and                              )
      ROBERTO POPA,                                       )
12                                                        )
                             Defendants.                  )
13

14                                   FINAL ORDER OF FORFEITURE

15            On November 2, 2007, the United States District Court for the District of Nevada entered a

16    Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

17    Code, Sections 982(a)(2)(B) and (b)(1); Title 18, United States Code, Section 1029(c)(1)(C); and Title

18    21, United States Code, Section 853(p), based upon the plea of guilty by defendant DUMITRU

19    NICULESCU to a criminal offense, forfeiting specific property alleged in the Fourth Superseding

20    Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

21    DUMITRU NICULESCU pled guilty.

22            On March 3, 2008, the United States District Court for the District of Nevada entered a

23    Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

24    Code, Sections 982(a)(2)(B) and (b)(1); Title 18, United States Code, Section 1029(c)(1)(C); and Title

25    21, United States Code, Section 853(p), based upon the jury verdict finding defendant ROBERTO

26    POPA guilty of the criminal offenses, forfeiting specific property alleged in the Fourth Superseding
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 1    Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

 2    ROBERTO POPA was found guilty.

 3             This Court finds the United States of America published the notice of the forfeiture in

 4    accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,

 5    consecutively from September 16, 2010 through October 15, 2010, notifying all known third parties

 6    of their right to petition the Court.

 7             This Court finds no petition was filed herein by or on behalf of any person or entity and the

 8    time for filing such petitions and claims has expired.

 9             This Court finds no petitions are pending with regard to the assets named herein and the time

10    for presenting such petitions has expired.

11             THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

12    title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

13    United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

14    32.2(c)(2); Title 18, United States Code, Sections 982(a)(2)(B) and (b)(1); Title 18, United States

15    Code, Section 1029(c)(1)(C); and Title 21, United States Code, Section 853(p); and Title 21, United

16    States Code, Section 853(n)(7) and shall be disposed of according to law:

17                    (a)     Linotronic 330 printer;

18                    (b)     Sony Cybershot digital camera;

19                    (c)     Epson Stylus 3000 color printer;

20                    (d)     VasTech DT-14 developing machine;

21                    (e)     DEK 1202 printing machine;

22                    (f)     CRON-180UV printing machine;

23                    (g)     CanadaStamp HP 1000 printing machine;

24                    (h)     Cron Card Offset model CCP-01 press machine;

25                    (i)     Little Joe press model 585;

26                    (j)     MicroTech Scan maker 4 scanner;

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 1                   (k)     Nu Line Imaging System NL 22-8C;

 2                   (l)     Phaser 7300 color printer;

 3                   (m)     HP Colorjet 2500L printer;

 4                   (n)     Idel-Werk document cutter;

 5                   (o)     X-Rite density calibrator;

 6                   (p)     Polaroid Colorshot photo printer;

 7                   (q)     Dell Optiplex GX 240 computer;

 8                   (r)     Apple Power Mac G-4 computer;

 9                   (s)     Two (2) laptop computers;

10                   (t)     Dell Optiplex GX-150 computer;

11                   (u)     Compaq Presario computer;

12                   (v)     Lock pick and/or burglary tools; and

13                   (w)     Counterfeit identification documents.

14            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited

15    funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well as

16    any income derived as a result of the United States of America’s management of any property forfeited

17    herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

18            The Clerk is hereby directed to send copies of this Order to all counsel of record and three

19    certified copies to the United States Attorney’s Office.

20                        2nd day ofday
              DATED this _________   December,   2010.
                                        of _______________, 2010.

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22                                                   UNITED STATES DISTRICT JUDGE

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 1                                         PROOF OF SERVICE
 2            I, Heidi Skillin, certify that the following individuals were served with copies of the Final
 3    Order of Forfeiture on December 1, 2010 by the below identified method of service:
 4            E-mail/ECF
 5            Richard A. Wright                            Mark B. Bailus
              Wright, Stanish & Winckler                   Bailus, Cook & Kelesis, Ltd.
 6            300 South Fourth Street, Suite 701           400 South Fourth Street, Suite 300
              Las Vegas, NV 89101                          Las Vegas, NV 89101
 7            Rick@wswlawlv.com                            Law@bckltd.com
              Counsel for Stefan Naghiu                    Counsel for Marius Ciurea
 8
              Terrence M. Jackson                          Jess R. Marchese
 9            Law Office of Terrence M. Jackson            Law Office of Jess R. Marchese
              624 South Ninth Street                       815 South Casino Center Boulevard
10            Las Vegas, NV 89101                          Las Vegas, NV 89101
              Terry.Jackson.Esq@gmail.com                  Marcheselaw@msn.com
11            Counsel for Dumitru Niculescu                Counsel for Valentin Gane
12            Anthony P. Sgro                              Michael W. Sanft
              Patti & Sgro                                 Sanft Law
13            720 South Seventh Street, Suite 300          520 South Fourth Street
              Las Vegas, NV 89101                          Las Vegas, NV 89101
14            aturner@pattisgrolewis.com                   Sanflawgroup@mac.com
              Counsel for Marius Morea                     Counsel for Daniel Vaida
15
              Beau Sterling                                Charles E. Kelly
16            Sterling Law LLC                             Kelly P.C.
              228 South Fourth Street                      706 South Eighth Street
17            Las Vegas, NV 89101                          Las Vegas, NV 89101
              bsterling@sterlinglaw.us                     Ceklv@aol.com
18            Counsel for Roberto Popa
19
                                                     /s/Heidi L. Skillin
20                                                  HEIDI L. SKILLIN
                                                    Forfeiture Support Associate Clerk
21

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